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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

IN RE: Motion to Quash Subpoena Served
upon Martin Industrial Supply Cornpany, Inc.,

Non-Party Movant.
No. OS-rnc-l 007-T/An
ELECTROLUX HOME PRODUCTS, INC.,

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Plaintiff,

VS.

WHITESELL CORPORATION,
Defendant.

ORDER OF REFERENCE

Non-party movant Martin Industrial Supply Cornpany, Inc. has filed a motion to quash a
deposition subpoena issued in this district and served on June 24, 2005, requiring the movant’s
appearance on August 12, 2005 to answer questions and to produce certain records The subpoena
was issued in connection With an action pending in the U.S. District Court for the Southern District
of Georgia, Electrolux Home Prods., Inc. v. Whitesell Corn._ No. l:O3-cv-050-DHB (S.D. Ga.).

This matter is hereby REFERRED to U.S. Magistrate Judge S. Thomas Anderson for
disposition

IT IS SO ORDERED.

 

JAMES . TODD
UNITE STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 1:05-MC-0]007 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

D. Christopher Carson
BURR & FORMAN

3100 South Trust ToWer
420 N. 20th St.

Birmingham, AL 35283--071

Honorable J ames Todd
US DISTRICT COURT

